                         Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 1 of 8
AO 24S8 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                        UsFILEo
                                                                                                                  eASTERN°dfl-rRRICT COURT
                                                                                                                                    1cr4py•,,aAS

                                           UNITED STATES DISTRICT COURT                                           TAM
                                                              Eastern District of Arkansas                    By:_ _-L.l!.2                CLERK
                                                                           )
              UNITED STATES OF AMERICA                                     )
                                                                                   JUDGMENT IN A CRIMINAL CASE DEP CLERK
                                   V.                                      )
                        JOSHUA SWEAT                                       )
                                                                           )       Case Number: 4:19-CR-00209-001 LPR
                                                                           )       USM Number: 32670-009
                                                                           )
                                                                           )        Sonia Fonticiella (appointed)
                                                                           )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            1 of the Indictment
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
18 u.s.c. § 2251                  Production of Child Pornography, a Class B Felony                          4/5/2019                1
(a) and (e)



       The defendant is sentenced as provided in pages 2 through          _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
□ Count(s)                                               D is       Dare dismissed on the motion of the United States.
               ------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenWlllt must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           11/14/2022
                                                                          Date of Imposition of Judgment



                                                                          s;,.S7.(~q
                                                                                      Lee P. Rudofsky, United States District Judge
                                                                          Name and Title of Judge



                                                                          Date
                           Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 2 of 8
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                    Judgment-Page   -=2-   of   8
 DEFENDANT: JOSHUA SWEAT
 CASE NUMBER: 4: 19-CR-00209-001 LPR

                                                              IMPRISONMENT
             The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 THREE HUNDRED (300) MONTHS




      ~ The court makes the following recommendations to the Bureau of Prisons:
        IF DEFENDANT IS ELIGIBLE AND IF APPROPRIATE FOR DEFENDANT, the Court recommends that defendant be
        incarcerated at FMC Devens or USP Marion; and that defendant participate in mental health counseling with an
        emphasis in sex offender treatment, and vocational programs during incarceration. The Court strongly recommends that
        defendant participate in the Residential Sex Offender Treatment Program {SOTP-R) program or the Sex Offender
        Management Program {SOMP) program during incarceration.
      !ill   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                  D a.m.      D p.m.       on
                      ---------
             D    as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D    as notified by the United States Marshal.

             D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                           B y - - - -DEPUTY
                                                                                       - - -UNITED
                                                                                             ---     -----------
                                                                                                   STATES MARSHAL
                         Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 3 of 8
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3     of - -8- -
DEFENDANT: JOSHUA SWEAT
CASE NUMBER: 4:19-CR-00209-001 LPR
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tenn of:
 LIFE




                                                    MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
              D The above drug testing condition is suspended, based on the court's detennination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 4 of 8
AO 24S8 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                               Judgment-Page   __4-'---_     of   -----=8___
DEFENDANT: JOSHUA SWEAT
CASE NUMBER: 4:19-CR-00209-001 LPR

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about. and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment. unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment. unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date - - - - - - - - - - - -
AO 2458 (Rev. 09/19)
                        Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 5 of 8
                       Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                            Judgment-Page    5     of      8
DEFENDANT: JOSHUA SWEAT
CASE NUMBER: 4: 19-CR-00209-001 LPR

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must provide the probation officer with access to any requested financial information (including unexpected
 financial gains) and authorize the release of any financial information. The probation office may share financial information
 with the U.S. Attorney's Office. You must not incur new credit charges or open additional lines of credit without the
 approval of the probation officer unless all criminal penalties have been satisfied.

 2. Pursuant to the Mandatory Victims Restitution Act of 1996, you must pay restitution in the amount of $3,000 to the U.S.
 District Clerk. Restitution will be disbursed to C.B. Restitution is due immediately, and any unpaid balance will be payable
 during incarceration. During incarceration, you must pay 50 percent per month of all funds that are available to you. During
 residential re-entry placement, payments will be 10 percent of your gross monthly income. Beginning the first month of
 supervised release, payments will be 10 percent per month of your monthly gross income. Interest is waived.

 3. You must participate in sex offender treatment under the guidance and supervision of the probation office and follow the
 rules and regulations of that program, including submitting to periodic polygraph testing to aid in the treatment and
 supervision process. You must pay for the cost of treatment, including polygraph sessions, at the rate of $10 per session,
 with the total cost not to exceed $40 per month, based on ability to pay as determined by the probation office. If you are
 financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 4. You must not view or possess any Mvisual depiction" (as defined in 18 U.S.C. § 2256) including any photograph, film,
 video, picture, or computer or computer-generated image or picture, whether made or produced by electronic, mechanical,
 or other means, of Msexually explicit conduct" (as defined in 18 U.S.C. § 2256), or any other material that would
 compromise your sex offense-specific treatment if the defendant is so notified by the probation office.

 5. You must not enter adult bookstores, strip clubs, or adult sex-themed entertainment businesses, or any establishments
 whose primary business involves sex-themed material or entertainment.

 6. You must not possess and/or use computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications
 or data storage devices or media without first obtaining permission from the probation officer.

 7. You must not access the Internet except for reasons approved in advance by the probation officer.

 8. You must allow the probation officer to install computer monitoring software on any computer (as defined in 18 U.S.C. §
 1030(e)(1)) you use.

 9. To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct initial and
 periodic unannounced searches of any computers (as defined in 18 U.S.C. § 1030(e)(1)) subject to computer monitoring.
 These searches will be conducted to determine whether the computer contains any prohibited data prior to installation of
 the monitoring software, whether the monitoring software is functioning effectively after its installation, and whether there
 have been attempts to circumvent the monitoring software after its installation. You must warn any other people who use
 these computers that the computers may be subject to searches pursuant to this condition.

 10. You must not participate in online gaming. You must not utilize or maintain any memberships or accounts of any social
 networking website or websites that allow minor children membership, a profile, an account, or webpage without approval
 of the probation office. This includes websites that explicitly prohibit access or use by sex offenders.

 11. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030
 (e)(1)), or other electronic communications or data storage devices or media, or office, to a search by a United States
 probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
 occupants that the premises may be subject to searches pursuant to this condition.
AO 2458 (Rev. 09/19)     Casein4:19-cr-00209-LPR
                       Judgment   a Criminal Case    Document 57 Filed 11/29/22 Page 6 of 8
                       Sheet 40 - Probation
                                                                                           Judgment-Page    6     of _   ___,,8,<....__
DEFENDANT: JOSHUA SWEAT
CASE NUMBER: 4:19-CR-00209-001 LPR

                                   SPECIAL CONDITIONS OF SUPERVISION
 12. The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
 violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
 conducted at a reasonable time and in a reasonable manner.

 13. The probation office will provide state officials with all information required under any sexual predator and sexual
 offender notification and registration statutes and may direct the defendant to report to these agencies personally for
 required additional processing, such as an interview and assessment, photographing, fingerprinting, polygraph testing, and
 DNA collection.

 14. You must not have direct contact with any child you know or reasonably should know to be under the age of 18,
 without the permission of the probation officer. If you do have any direct contact with any child you know or reasonably
 should know to be under the age of 18, without the permission of the probation officer, you must report this contact to the
 probation officer within 24 hours. Direct contact includes written communication, in-person communication, or physical
 contact. Direct contact does not include incidental contact during ordinary daily activities in public places.

 15. You must not go to, or remain at, any place where you know children under the age of 18 are likely to be, including
 parks, schools, playgrounds, and childcare facilities.

 16. You must not communicate, or otherwise interact, with the victim in this case, either directly or through someone else,
 without first obtaining the permission of the probation officer. If any contact occurs, you must immediately leave the area
 and report the contact to the probation office.

 17. You must not engage in an occupation, business, profession, or volunteer activity that would require or enable you to
 work with children without prior approval of the probation officer.
                           Case 4:19-cr-00209-LPR Document 57 Filed 11/29/22 Page 7 of 8
AO 2458 (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                                 Judgment- Page   -~7-     of        8
 DEFENDANT: JOSHUA SWEAT
 CASE NUMBER: 4:19-CR-00209-001 LPR
                                                  CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment             Restitution                    Fine                        AVAA Assessment*           JVT A Assessment**
 TOTALS              $   100.00               S 3,000.00                   $   1.00                    $                          $



 D      The determination ofrestitution is deferred until
                                                                 -----
                                                                                  . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned ~yment, unless s~cified otherwise in
        the prioricy or~er or perc~ntage payment column below. However, pursuant to 18U.S.C. § 3664(1), all nonfederal victims must be paid
        before the Umted States 1s paid.

 Name of Payee                                                     Total Loss***                       Restitution Ordered        Priority or Percentage
   C.B.                                                                                                            $3,000.00




 TOTALS                                 $                          0.00                              3,000.00
                                                                                        $- - - - - - -
                                            ---------                                                  ---


 D       Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 !ill   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         Ill   the interest requirement is waived for the          D   fine      !ill   restitution.

         D     the interest requirement for the       D     fine       D   restitution is modified as follows:

 * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for ictims of Trafficking A.ct of2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 09/19)      Casein a4:19-cr-00209-LPR
                       Judgment    Criminal Case               Document 57 Filed 11/29/22 Page 8 of 8
                       Sheet 6 - Schedule of Payments
                                                                                                         Judgment- Page   -~8-      of       8
 DEFENDANT: JOSHUA SWEAT
 CASE NUMBER: 4:19-CR-00209-001 LPR

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    Ill     Lump sum payment of$         3,101.00           due immediately, balance due

              D     not later than                                 , or
              Ill   in accordance with D C,         D    D,   D     E,or    liZI   F below; or

 B     D      Payment to begin immediately (may be combined with           DC,         D D, or     D F below); or

 C     D      Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g., months or years), to commence
                                                              _ _ _ _ _ (e.g.. 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal      _ _ _ _ _ (e.g.. weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g.. months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.. 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     liZI   Special instructions regarding the payment of criminal monetary penalties:
               Restitution is due immediately, and any unpaid balance will be payable during incarceration. During incarceration,
               you must pay 50 percent per month of all funds that are available to you. During residential re-entry placement,
               payments will be 10 percent of your gross monthly income. Beginning the first month of supervised release,
               payments will be 10 percent per month of your monthly gross income. Interest is waived.


 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal mone!ary penalties is due during
 the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                  Joint and Several            Corresponding_ Payee,
       (including defendant number)                       Total Amount                        Amount                      if appropnate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 PaY!!J.ents shall be a_pplied in the following order: (I) assessment, (2) restitution princ9?al, (3) restitution interest, (4) AVAA assessment,
 (5J fine princi~I. (6) fine interest, (7) community restitution, (8) NTA assessment, ('J) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
